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 5
                             UNITED STATES BANKRUPTCY COURT
 6
                                FOR THE DISTRICT OF NEVADA
 7
       In re:                                               Case No. 21-14486-abl
 8                                                          Chapter 7
       INFINITY CAPITAL MANAGEMENT, INC.
 9
       dba INFINITY HEALTH CONNECTIONS,                     STIPULATION REGARDING
10                                                          BANK ACCOUNT BALANCES
                           Debtor.
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            Chapter 7 trustee Robert E. Atkinson (“Trustee”) and creditor HASELECT-
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     MEDICAL RECEIVABLES LITIGATION FINANCE FUND INTERNATIONAL SP
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     (“HASelect”), both by and through counsel, hereby stipulate and agree as follows:
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            WHEREAS, Debtor’s Schedule A/B identifies one bank account at First Savings
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     Bank (“FSB Account”) and three bank accounts in Nevada State Bank (“NSB Accounts”);
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     and
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            WHEREAS, Debtor has identified the FSB Account as its dedicated account for
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     HASelect’s receivables and all deposits therein being held in trust for HASelect; and
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            WHEREAS, Debtor has identified the three NSB Accounts to be Debtor’s regular
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     operational account and two dormant operating accounts; and
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            WHEREAS, the Trustee received four cashier’s checks from Debtor’s principal as
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     follows:
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                   One $25,371.92 check from Debtor’s First Savings Bank account,
25                 Three checks totaling $37,478.44 from Debtor’s three NSB Accounts;
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            WHEREAS, HASelect does not have a deposit account control agreement for any of
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     the three NSB Accounts; and
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            WHEREAS, Debtor’s principals testified under oath that HASelect did have a degree
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     of control over the FSB Account; and
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            WHEREAS, HASelect asserts that the control over the FSB Account is sufficient to
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     attach its security interest, pursuant to NRS § 104.9104 and other applicable law, to which
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     the Trustee agrees;
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     THEREFORE, the parties hereby stipulate as follows:
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             1. The Trustee shall turn over the $25,371.92 cashier’s check from First Savings
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                 Bank to HASelect. Such funds shall not be property of the bankruptcy estate.
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             2. The $37,478.44 from the three NSB Accounts shall not be subject to HASelect’s
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                 security interest, and shall be property of the bankruptcy estate available for case
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                 administration and distribution to unsecured creditors.
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     IT IS SO STIPULATED.
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                                               # # # # #
14

15    Dated: November 24, 2021                          Dated: November 24, 2021

16    ATKINSON LAW ASSOCIATES LTD.                      SHEA LARSEN
17
      /s/ Clarisse Crisostomo                           /s/ Bart Larsen
18    CLARISSE L. CRISOSTOMO, ESQ.                      BART K. LARSEN, ESQ.
      Nevada Bar No. 15526                              Nevada Bar No. 8538
19    Attorneys for Robert E. Atkinson, Trustee         Attorney for creditor HASelect
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